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  A0 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                          Middle District of Alabama

                    United States of America                          )
                               v.                                     )
                                                                      ) Case No: 2:93cr310-ID-25
                         JUANITA HART
                                                                      ) USM No: 0923 3-002
Date of Previous Judgment: 12/27/1994                                 ) Susan James
(Use Date of Last Amended Judgment if Applicable)                     ) Defendant's Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of X the defendant            the Director of the Bureau of Prisons J the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Conmiission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        J DENTED. X GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 360          months is reduced to 288
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:     40               Amended Offense Level:     38
Criminal History Category: I                 Criminal History Category: I
Previous Guideline Range: 292  to 365 months Amended Guideline Range: 235                                               to 293 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
 1 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
   Other (explain):




III. ADDITIONAL COMMENTS

The Court has considered the factors set forth in 18 U.S.C. 3553(a) in making its reduction determination pursuant to 18
U.S.C. § 3582(c)(2)/Amendment 706.


Except as provided above, all provisions of the judgment dated 12/27/1994 shall remain in effect.
IT IS SO ORDERED.

Order Date:        8/19/2009
                                                                                                      egtr
                                                                          IRA DEMENT
Effective Date: 9/2/200                                                   SENIOR U.S. DISTRICT JUDGE
                    (if different from order date)                                             Printed name and title
